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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )
                                               )
RICHARD W. GATES III,                          )            Crim. No. 17-201-2 (ABJ)
                                               )
               Defendant.                      )

         NOTICE OF DEVELOPMENT RELATED TO THE GOVERNMENT’S
         MOTION TO REVIEW REPRESENTATION OF DEFENDANT GATES

       Richard W. Gates, III, through undersigned counsel, writes to inform the Court of a new

development related to the Government’s Motion to Review Representation of Defendant Gates,

Document 52, and the Government’s Notice of Development Related to the Government’s

Motion to Review Representation of Defendant Gates (“Government’s Notice of Development”),

Document 61. As the Court is aware, in its Motion to Review Representation of Defendant

Gates, the Government requested that the Court review the propriety of attorney Walter Mack’s

representation of Mr. Gates under United States v. Curcio, 680 F. 2d 881 (2d Cir. 1982). In the

Government’s Notice of Development, the government advised the Court that the U.S. District

Court for the Southern District of New York had approved the government’s request for a Curcio

hearing in the case United States v. Steven Brown, 16-cr-436 (KMW) (“NY Case”), and had

scheduled a Curcio hearing for Monday, December 4, 2017, at 11:45 a.m.

       At the hearing before this Court on November 21, 2017, the Court directed the

Government to keep it informed of developments in the NY Case. Specifically, the Court stated,

“one thing I will ask the government to do, at any time that you understand that there’s been any

ruling coming out of the New York Court, if you could provide – you know, docket it, just file a
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notice that there’s been some development, so that we can all be aware of it.” November 21,

2017 Hearing Transcript at 1819-24.

       As it does not appear that the Government has filed the requested notice, Mr. Gates

notifies the Court that the Curcio hearing proceeded as scheduled in the NY case on Monday,

December 4, 2017, before Judge Kimba W. Wood who found that “Defendant Brown knowingly

and voluntarily waives his right to conflict-free representation.” The relevant docket entry

reflecting the Court’s finding, made in a minute entry, is as follows:

       Minute Entry for proceedings held before Judge Kimba M. Wood: Curcio Hearing
       as to Steven Brown held on 12/4/2017. Defendant Steven Brown is present with his
       attorneys Walter Mack and David Rivera. AUSAs Katherine Reilly and Noah
       Solowiejczyk are present. Court reporter Rose Prater is present. Curcio hearing is
       held (see transcript.) The Court finds that Defendant Brown knowingly and
       voluntarily waives his right to conflict-free representation. (jbo)

See December 4, 2017, minute entry in NY Case’s docket report, attached hereto as Exhibit A,

which is a true and correct copy of the relevant portion of the docket report.




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                           Respectfully submitted,


                           _/s/Shanlon Wu_______________
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